     Case: 4:11-cv-01975-CEJ Doc. #: 65 Filed: 09/11/12 Page: 1 of 3 PageID #: 639



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

CHERYL COMPTON, et al.,                           )
                                                  )
                                   Plaintiffs,    )
                                                  )         Cause No. 4:11CV01975 CEJ
v.                                                )
                                                  )
ST. LOUIS METROPOLITAN POLICE                     )
DEPARTMENT, et al.,                               )
                                                  )
                                   Defendants.    )

     MOTION FOR SANCTIONS (DISMISSAL) OF DEFENDANTS ST. LOUIS
METROPOLITAN POLICE DEPARTMENT, BOARD OF POLICE COMMISSIONERS
 OF THE ST. LOUIS METROPOLITAN POLICE DEPARTMENT, RICHARD GRAY,
 JERRY LEE, BETTYE BATTLE-TURNER, THOMAS IRWIN AND FRANCIS SLAY

         Come now Defendants St. Louis Metropolitan Police Department; Board of Police

Commissioners of the St. Louis Metropolitan Police Department; Richard Gray, Jerry Lee,

Bettye Battle-Turner, Thomas Irwin1, and Francis Slay, in their official capacities as the Board of

Police Commissioners of the St. Louis Metropolitan Police Department (hereinafter referred to

collectively as “Police Defendants”), pursuant to Rule 37 and E.D.Mo. L.R. 7-4.01, and move for

sanctions, specifically, the sanction of dismissal, as to Plaintiffs for failure to comply with a

court order, and in support thereof state as follows:

         1.      On July 5, 2012, Police Defendants propounded Interrogatories to Plaintiffs, and

each of them, in this action; Plaintiffs, and each of them, failed to answer said Interrogatories

within the requisite time and, even after Police Defendants, through counsel, attempted in good

faith to confer with Plaintiffs’ counsel, received no responses.

         2.      On August 14, 2012, Police Defendants filed a Motion to Compel Answers to


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    Identified in the First Amended Complaint as “Thomas Irvin.”
  Case: 4:11-cv-01975-CEJ Doc. #: 65 Filed: 09/11/12 Page: 2 of 3 PageID #: 640



Interrogatories directed to Plaintiffs, and each of them (Doc. #58).

        3.      On August 28, 2012, this Court granted Police Defendants’ Motion to Compel,

ordering Plaintiffs to answer said Interrogatories by September 7, 2012, and stating that failure to

comply with this Order may result in the imposition of sanction as authorized by Rule 37(b),

including dismissal of the action (Doc. #60).

        4.      Police Defendants did not receive any Answers to Interrogatories by or before

September 7, 2012.

        5.      The deadline for discovery set out in the Case Management Order, August 15,

2012, has now expired.

        6.      Police Defendants have been prejudiced by each Plaintiff’s refusal to answer

Interrogatories propounded to him or her.

        7.      In light of the previously entered Order compelling Plaintiffs to answer

Interrogatories by September 7, 2012, Police Defendants submit that the appropriate sanction is

dismissal of the action.

        WHEREFORE, Police Defendants pray this Court for an Order dismissing the instant

action in its entirety, and for their costs incurred herein.

                                                        BOARD OF POLICE COMMISSIONERS
                                                        OF THE CITY OF ST. LOUIS


                                                        /s/ Mark Lawson
                                                        ________________________________________________________________________

                                                        Mark Lawson #33337MO
                                                        General Counsel
                                                        Jennifer Chestnut Strada #51503MO
                                                        Assistant General Counsel
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                                                   2
 Case: 4:11-cv-01975-CEJ Doc. #: 65 Filed: 09/11/12 Page: 3 of 3 PageID #: 641



                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was filed electronically with the
Clerk of the Court on September 11, 2012, to be served by operation of the Court’s electronic
filing system upon all attorneys of record.

                                                  /s/ Mark Lawson
                                                  ________________________________________________________________________




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